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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

JUAN VILLANUEVA                                    §
                                                   §      CIVIL ACTION NO. 7:15-CV-00135
VS.                                                §
                                                   §      JURY DEMANDED
ALLSTATE TEXAS LLOYDS                              §


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, Juan Villanueva, and Defendant, Allstate Texas Lloyds, file this, the Parties’ Agreed

Stipulation of Dismissal with Prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), and

would show the Court as follows:

       1.       On February 24, 2015, Plaintiff, Juan Villanueva sued Defendant.

       2.       Plaintiff, Juan Villanueva moves to dismiss his suit.

       3.       Defendant agrees to the dismissal of Juan Villanueva’s claims.

       4.       This case is not a class action.

       5.       A receiver has not been appointed in this case.

       6.       This case is not governed by any federal statute that requires a court order for the

                dismissal of Juan Villanueva’s case.

       7.       Plaintiff has not previously dismissed any federal court or state court suit based on or

                including the same claims as those presented in this case.

       8.       This dismissal is with prejudice to re-filing.


                                                   Respectfully submitted,

                                                   /S/Scott G. Hunziker          _____
                                                   Scott G. Hunziker
                                                   Attorney In Charge


                                                   Scott G. Hunziker

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                                                 /S/ Rosemary Conrad-Sandoval_______
                                                 Rosemary Conrad-Sandoval
                                                 Attorney In Charge
                                                 Fed. I.D. No. 13738
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                                                 Of Counsel:

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                                                 McAllen, TX 78504
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                                         CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a true and correct copy of the foregoing document has
been served electronically to the Attorney for Plaintiff, as follows:

        Scott G. Hunziker
        THE VOSS LAW FIRM, PC
        26619 Interstate 45
        The Woodlands, Texas 77380


on this 10th day of March, 2016.



                                                 /S/ Rosemary Conrad-Sandoval______
                                                 ROSEMARY CONRAD-SANDOVAL




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